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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROY LEE WILLIAMS,                                  :                  CIVIL ACTION
                                                   :
            Plaintiff,                             :
                                                   :
                         v.                        :
                                                   :
JOHN E. WETZEL,                                    :
                                                   :
            Defendant.                             :                  NO. 21-1248

              DEFENDANT JOHN WETZEL’S ANSWER TO THE COMPLAINT

       Defendant John Wetzel, Secretary of the Pennsylvania Department of Corrections, by the

undersigned counsel, hereby answers Plaintiff’s Complaint as follows:


                                  PRELIMINARY STATEMENT

       1.         These allegations constitute conclusions of law to which no response is required.

       2.         These allegations constitute conclusions of law to which no response is required.

       3.         These allegations constitute conclusions of law to which no response is required.

       4.         Defendant lacks sufficient knowledge or information to either admit or deny the

allegations regarding Plaintiff’s mental health diagnosis; they are thus denied. The remaining

allegations constitute conclusions of law to which no response is required.

       5.         Defendant lacks sufficient knowledge or information to either admit or deny the

allegations regarding Plaintiff’s mental health diagnosis; they are thus denied.

       6.         These allegations constitute conclusions of law to which no response is required.

       7.         These allegations constitute conclusions of law to which no response is required.

       8.         These allegations constitute conclusions of law to which no response is required.

       9.         These allegations constitute conclusions of law to which no response is required.
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       10.     These allegations constitute conclusions of law to which no response is required.

       11.     These allegations constitute conclusions of law to which no response is required.

                                JURISDICTION AND VENUE

       12.     These allegations constitute conclusions of law to which no response is required.

       13.     These allegations constitute conclusions of law to which no response is required.

       14.     These allegations constitute conclusions of law to which no response is required.

                                           PARTIES

       15.     Admitted that Plaintiff Roy Lee Williams is a 56-year-old inmate. Defendant

lacks sufficient knowledge or information to either admit or deny the allegations regarding

Plaintiff’s mental health diagnosis. The remaining allegations are denied.

       16.     Admitted that Defendant Wetzel is the Secretary of the Pennsylvania Department

of Corrections. The remaining allegations constitute conclusions of law to which no response is

required.

       17.     These allegations constitute conclusions of law to which no response is required.

                                FIRST CAUSE OF ACTION
                 Violation of U.S. Constitution, Amendments XIII and XIV

       18.     This cause of action was dismissed by Order of the Court, issued April 1, 2021.

(ECF No. 7.) Thus, these allegations do not require response.

       19.     This cause of action was dismissed by Order of the Court, issued April 1, 2021.

(ECF No. 7.) Thus, these allegations do not require response.

       20.     This cause of action was dismissed by Order of the Court, issued April 1, 2021.

(ECF No. 7.) Thus, these allegations do not require response.

       21.     This cause of action was dismissed by Order of the Court, issued April 1, 2021.

(ECF No. 7.) Thus, these allegations do not require response.
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       22.    This cause of action was dismissed by Order of the Court, issued April 1, 2021.

(ECF No. 7.) Thus, these allegations do not require response.

                              SECOND CAUSE OF ACTION
Violations of 42 U.S.C. §§ 12143 and 12143 (Title II of the Americans with Disabilities Act)
             and the Fourteenth Amendment of the United States Constitution

       23.    These allegations constitute conclusions of law to which no response is required.

       24.    These allegations constitute conclusions of law to which no response is required.

       25.    These allegations constitute conclusions of law to which no response is required.

       26.    These allegations constitute conclusions of law to which no response is required.

       27.    These allegations constitute conclusions of law to which no response is required.

       28.    These allegations constitute conclusions of law to which no response is required.

                                AFFIRMATIVE DEFENSES

       1.     The ADA claim is barred by the statute of limitations.

       2.     The ADA claim is barred for failure to exhaust administrative remedies.


                                                    JOSH SHAPIRO
                                                    ATTORNEY GENERAL

                                            BY:     /s/ Kathy A. Le
                                                    KATHY A. LE
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Philadelphia, PA 19103
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Fax: (717) 772-4526                                 Chief Deputy Attorney General
                                                    Chief, Civil Litigation Section

                                                    Counsel for Defendant Wetzel
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                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROY LEE WILLIAMS,                                  :                   CIVIL ACTION
                                                   :
         Plaintiff,                                :
                                                   :
                      v.                           :
                                                   :
JOHN E. WETZEL,                                    :
                                                   :
         Defendant.                                :                   NO. 21-1248

                                  CERTIFICATE OF SERVICE

       I, Kathy A. Le, hereby certify that on June 22, 2021, Defendant Wetzel’s Answer to the

Complaint has been filed electronically and is available for viewing and downloading from the

Court’s Electronic Case Filing System (“ECF”). The ECF System’s electronic service of the

Notice of Electronic Case Filing constitutes service on all parties who have consented to

electronic service. I further certify that, on this date, I caused to be served a true and correct copy

of the foregoing document titled Notice of Removal to Roy Lee Williams, Inmate No. CF-4768,

pro se Plaintiff, via hand delivery through the Department of Corrections. This alternative

method of service is being used due to the COVID-19 emergency.



                                                       BY:     /s/ Kathy A. Le
                                                               KATHY A. LE
                                                               Deputy Attorney General
